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                                      JOINT CASE MANAGEMENT STATEMENT
            Case Nos. 3:21-md-02981-JD; 3:20-cv-05671-JD; 3:20-cv-05761-JD; 3:20-cv-05792-JD; 3:21-cv-05227-JD
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 1                                 UNITED STATES DISTRICT COURT

 2                             NORTHERN DISTRICT OF CALIFORNIA
 3
                                        SAN FRANCISCO DIVISION
 4

 5
     IN RE GOOGLE PLAY STORE
 6   ANTITRUST LITIGATION                                     Case No. 3:21-md-02981-JD

 7   THIS DOCUMENT RELATES TO:                                JOINT CASE MANAGEMENT
 8                                                            STATEMENT
     Epic Games Inc. v. Google LLC et al., Case
 9   No. 3:20-cv-05671-JD                                     Date: November 18, 2021
                                                              Time: 11:00 a.m.
10   In re Google Play Consumer Antitrust                     Courtroom: 11, 19th Floor (by remote access)
     Litigation, Case No. 3:20-cv-05761-JD                    Judge: Hon. James Donato
11
     In re Google Play Developer Antitrust
12
     Litigation, Case No. 3:20-cv-05792-JD
13
     State of Utah et al. v. Google LLC et al., Case
14   No. 3:21-cv-05227-JD
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                                    JOINT CASE MANAGEMENT STATEMENT
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 1          Pursuant to this Court’s Order dated October 22, 2021 (In re Google Play Store Antitrust

 2   Litigation, No. 3:21-md-02981-JD (N.D. Cal. 2021) (“MDL”) Dkt. No. 122), setting a status

 3   conference for November 18, 2021, the parties in the above-captioned MDL action (“the

 4   Parties”), by and through their undersigned counsel, submit this Joint Case Management

 5   Statement.

 6          I.       CASE STATUS SUMMARY

 7                   A.      Case Schedule

 8          On October 22, 2021, the Court issued an MDL Scheduling Order, setting an October 17,
 9   2022, trial date and pretrial deadlines for this MDL action.
10                   B.      Pleadings
11          On November 1, 2021, Epic filed an Answer to Google’s Counterclaims. MDL Dkt. No.
12   136. On November 1, 2021, the State Attorneys General (“State AG”) Plaintiffs filed an
13   Amended Complaint. Utah v. Google LLC, No. 3:21-cv-05227, Dkt. No. 188. Google’s
14   responsive pleadings to the State AG’s Amended Complaint are due on November 15, 2021.
15                   C.      Administrative Motions to Seal
16          On October 11, 2021, in connection with Defendants’ Answers, Defenses and
17   Counterclaims to Epic Games, Inc,’s First Amended Complaint for Injunctive Relief, MDL Dkt.
18   No. 111, Google filed an Administrative Motion to Seal in connection with certain materials

19   designated confidential by Epic. MDL Dkt. No 112. Epic has not sought to maintain under seal

20   any portion of Google’s Answer and Counterclaims. Accordingly, the Court may deny

21   Google’s Administrative Motion, MDL Dkt. No 112 as moot.

22          On November 1, 2021, in connection with its Answer and Defenses to Google’s

23   Counterclaims, MDL Dkt. No. 136, Epic filed an Administrative Motion to Consider Whether

24   Another Party’s Material Should Be Sealed in connection with certain materials designated

25   confidential by Google (MDL Dkt. No. 137). Google has not sought to maintain under seal any

26   portion of Epic’s Answer and Defenses to Google’s Counterclaims. Accordingly, the Court may

27   deny Epic’s Administrative Motion, MDL Dkt. No. 137, as moot.

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                                      JOINT CASE MANAGEMENT STATEMENT
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 1          II.     STATUS OF DISCOVERY

 2                  A.       Deposition Protocol

 3          The Parties have met and conferred regarding a deposition protocol to govern the

 4   depositions in this MDL action. On October 28, 2021, the Parties submitted a Joint Discovery

 5   Letter Brief to the Court regarding a dispute concerning Rule 30(b)(6) depositions. MDL Dkt.

 6   No. 134. On November 5, 2021, the Court issued an order regarding the Parties’ dispute. MDL

 7   Dkt. No. 141. The Parties will meet and confer and submit a deposition protocol to the Court

 8   that incorporates the Court’s November 5, 2021 Order.
 9                  B.       Fact Depositions
10          The Parties are set to begin fact depositions in December. On November 5, 2021,
11   Plaintiffs requested that Google provide dates for twenty witnesses that Class Plaintiffs believe
12   need to be deposed prior to class certification, including three of four witnesses for which
13   Plaintiffs had requested deposition dates on August 30, 2021, and one witness for which
14   Plaintiffs had requested a deposition date on October 24, 2021 as a substitute for one of the
15   original four who was unavailable prior to class certification. Three of those witnesses are now
16   scheduled for December 2, 9, and 20. Because the opening briefs on class certification are due
17   January 28, 2022, Plaintiffs have requested these twenty depositions take place before January
18   15, 2022.

19          On October 15, 2021, Google requested depositions of consumer class plaintiffs and three

20   Epic witnesses. Epic offered dates for two of its witnesses on December 16 and January 7, and

21   Consumer Plaintiffs are gathering dates for their class representatives. The Parties continue to

22   meet and confer on the scheduling of depositions.

23                  C.       Document Discovery Update

24          The Parties have made significant progress to date and continue to engage in discovery

25   on a range of topics. There are meet and confers underway to address outstanding discovery

26   issues, and the Parties are hopeful that the remaining issues will be resolved through negotiation.

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                                      JOINT CASE MANAGEMENT STATEMENT
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 1          On October 21, 2021, Google announced that it was reducing its service fee on

 2   subscriptions purchased through Google Play from 30 percent to 15 percent. On October 25,

 3   2021, Plaintiffs requested that Google produce documents and communications related to

 4   Google’s change to the fee structure. The Parties are meeting and conferring regarding Plaintiffs’

 5   request. One deponent Plaintiffs have requested before class certification, a Vice President of

 6   Project Management responsible for Google Play, made Google’s announcement.

 7          On November 1, 2021, Google amended its initial disclosures, including by adding three

 8   new individuals who had not previously been identified in this litigation as individuals
 9   reasonably likely to have discoverable information that Google may use to support its claims
10   and/or defenses. On November 5, 2021, Plaintiffs requested that Google produce certain
11   custodial documents from the files of these individuals. The Parties are meeting and conferring
12   regarding Plaintiffs’ request.
13          The State AG Plaintiffs have indicated that they plan to serve their initial disclosures on
14   or before November 19, 2021.
15                  D.       Source Code
16          The Parties continue to negotiate the scope of source code that Google will make
17   available for Plaintiffs’ experts to review and an associated protective order. The Parties are
18   hopeful that the source code issue will be resolved quickly so that, to the extent Class Plaintiffs

19   believe such information is necessary for class certification, Plaintiffs’ experts will have

20   sufficient time to review the necessary information.

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                                      JOINT CASE MANAGEMENT STATEMENT
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            Case 3:20-cv-05761-JD Document 228 Filed 11/11/21 Page 6 of 10




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                                                        Darin P. McAtee (pro hac vice)
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                                                                Litigation
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                                    JOINT CASE MANAGEMENT STATEMENT
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            Case 3:20-cv-05761-JD Document 228 Filed 11/11/21 Page 8 of 10




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                                    JOINT CASE MANAGEMENT STATEMENT
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 1                                         E-FILING ATTESTATION

 2                  I, Marianna Y. Mao, am the ECF User whose ID and password are being used to

 3   file this document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the

 4   signatories identified above has concurred in this filing.

 5

 6                                                                  /s/ Marianna Y. Mao

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